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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                          BIG STONE GAP DIVISION

 KEITH CARROLL,

         Plaintiff,
                                                          Case No:
 v.


 POWELL VALLEY NATIONAL BANK
 (“PVNB”)

 Serve: Chief Executive
      In His/Her Official Capacity
      PVNB Headquarters
      33785 Main St.
      Jonesville, VA, 24263

         Defendant.

                                      COMPLAINT

         The above-named Plaintiff, Keith Carroll, by counsel, states as his Complaint

 against Defendant Powell Valley National Bank (“PVNB”), the following:

                                    I. JURISDICTION

      1. This Court has subject matter jurisdiction of this action pursuant to 28 U.S.C.

 § 1331 and 42 U.S.C. § 12188, for Plaintiff’s claims arising under the Americans with

 Disabilities Act of 1990 (“ADA”), 42 U.S.C. § 12181 et seq.

      2. Venue is proper in this jurisdiction pursuant to 28 U.S.C. § 1391(b)(1)-(3)

 because Defendant resides in this District, Defendant’s principal place of business is

 in this District, a substantial part of the events or omissions giving rise to Plaintiff’s

 claim occurred in this District, and Defendant is subject to personal jurisdiction in
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 this District.

                                      II. THE PARTIES

    3. Plaintiff is an adult resident of Virginia. Plaintiff is permanently blind and

 uses a screen reader in order to access the internet and read website content. Despite

 several attempts to use and navigate PVNB’s website, www.powellvalleybank.com,

 Plaintiff has been denied the full use and enjoyment of the facilities and services of

 powellvalleybank.com as a result of accessibility barriers on powellvalleybank.com.

 The access barriers on powellvalleybank.com have caused a denial of Plaintiff’s full

 and    equal     access   multiple   times.       Similarly,   the   access   barriers   on

 powellvalleybank.com have deterred Plaintiff from visiting PVNB’s banking locations.

    4. Plaintiff is informed and believes, and thereon alleges, that PVNB is a national

 banking association with its principal place of business located in Jonesville, Virginia,

 in this District. Plaintiff is informed and believes, and thereon alleges, that PVNB

 owns and operates banking locations in Virginia. The banking locations constitute

 places of public accommodation. PVNB’s locations provide to the public important

 goods and/or services. PVNB also provides to the public the powellvalleybank.com

 website. Powellvalleybank.com provides access to PVNB’s array of services, including

 a locator for the PVNB facilities, information that enables a person without an

 account to learn what services PVNB has to offer potential customers including

 descriptions of its amenities and services that enable a user to obtain general


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 information about particular topics and specific information about what PVNB offers,

 and many other benefits related to these facilities and services. The PVNB facilities

 are public accommodations within the definition of Title III of the Americans With

 Disabilities Act of 1990 (“ADA”), 42 U.S.C. § 12181(7). Powellvalleybank.com is a

 service, privilege, advantage, and accommodation of the PVNB facilities.

 Powellvalleybank.com is a service, privilege, advantage, and accommodation that is

 heavily integrated with these locations.

    5. At all times relevant to the Complaint, PVNB was acting through its agents,

 servants and/or employees.


                              III. FACTUAL BACKGROUND

                   Applicability of the ADA to Commercial Websites

    6. The Internet has become a significant source of information, a portal and tool

 for conducting business, and a means for doing everyday activities such as shopping,

 banking, etc. for both the sighted and blind, and/or visually-impaired persons.

    7. Blind individuals may access websites by using keyboards in conjunction with

 screen-reading software that vocalizes visual information on a computer screen.

 Screen access software provides the only method by which a blind person may

 independently access the internet. Unless websites are designed to be read by screen

 reading software, blind persons are unable to fully access websites and the

 information, products and services contained thereon.


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    8. The international website standards organization, W3C, has published version

 2.0 of the Web Content Accessibility Guidelines (“WCAG 2.0”). WCAG 2.0 are well-

 established guidelines for making websites accessible to blind and visually-impaired

 people.   These guidelines are successfully followed by numerous large business

 entities to ensure their websites are accessible. These guidelines recommend several

 basic components for making websites accessible including, but not limited to:

 adding invisible alternative text to graphics; ensuring that all functions can be

 performed using a keyboard and not just a mouse; ensuring that image maps are

 accessible; and adding headings so that blind people can easily navigate websites.

 Without these very basic components, a website will be inaccessible to a blind or

 visually-impaired person using a screen reader.

    9. Within this context, numerous federal courts have recognized the viability of

 ADA claims against commercial website owners/operators with regard to the

 accessibility of such websites. See, e.g., Andrews v. Blick Art Materials, LLC, -- F.

 Supp. 3d --, 2017 WL 3278898, at *12, *15-*18 (E.D.N.Y. Aug. 1, 2017) (Weinstein,

 J.); Thurston v. Chino Commercial Bank, N.A., No. CV 17-01078 BRO (JCx), 2017

 WL 3224681, at *5 (C.D. Cal. July 27, 2017) (citing Gorecki); Markett v. Five Guys

 Enterprises LLC, No. 1:17-cv-00788-KBF, slip op. at 4-6 [ECF #33] (S.D.N.Y. July 21,

 2017); Gorecki v. Hobby Lobby Stores, Inc., No. 2:17-cv-01131-JFW-SK, 2017 WL

 2957736 (C.D. Cal. June 15, 2017) (Walter, J.) (denying a motion to dismiss sought

 against ADA and California’s Unruh Civil Rights Act claims) (“[T]his is a relatively

 straightforward claim that Hobby Lobby failed to provide disabled individuals full
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 and equal enjoyment of goods and services . . . by not maintaining a fully accessible

 website. There is nothing unique about this case, as federal courts have resolved

 effective communication claims under the ADA in a wide variety of contexts--

 including cases involving allegations of unequal access to goods, benefits and services

 provided through websites.”); Gil v. Winn-Dixie Stores, Inc., No. 16-23020-Civ-Scola,

 -- F. Supp. 3d --, 2017 WL 2547242, at *7 (S.D. Fla. June 13, 2017) (finding that the

 defendant, a large supermarket chain, had violated the plaintiff’s rights under the

 ADA by failing to maintain an accessible website after a non-jury trial); Frazier v.

 Ameriserv Financial Bank, Nos. 2:16-cv-01898-AJS (Lead Case), 17cv0031 [ECF

 #107], slip op. at 20 (W.D. Pa. Apr. 21, 2017) (denying a motion to dismiss an ADA

 claim alleging an inaccessible commercial website); Frazier v. Churchill Downs Inc.,

 Nos. 2:16-cv-01898-AJS (Lead Case), 2:16-cv-0007 (Member Case) [ECF #107] slip

 op. at 20 (W.D. Pa. Apr. 21, 2017) (same); OmahaSteaks.com, Inc. v. Access Now,

 Inc., et al., No. 8:17-cv-00060-LSC-CRZ [ECF #9-1] (D. Neb. Apr. 17, 2017) (consent

 decree); Access Now, Inc., et al. v. Omahasteaks.com, Inc., Nos. 2:16-cv-01898-AJS

 (Lead Case), 2:17-cv-00269-AJS (Member Case) [ECF #99] (W.D. Pa. Apr. 11, 2017

 (same); Gil v. Winn-Dixie Stores, Inc., -- F. Supp. 3d --, No. 16-23020-Civ-Scola,

 2017 WL 2609330 (S.D. Fla. Mar. 15, 2017) (denying a motion for judgment on the

 pleadings sought against an ADA claim alleging an inaccessible commercial website);

 Nat’l Ass’n of the Deaf v. Harvard Univ., Case 3:15-cv-30023-MGM, 2016 WL

 3561622, at *12-*20 (D. Mass. Feb. 9, 2016) (Robertson, Mag. J.) (recommending the

 denial of a motion to dismiss or stay predicated on the primary jurisdiction doctrine),
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 adopted in Nat’l Ass’n of the Deaf v. Harvard Univ., Case 3:15-cv-30023-MGM, 2016

 WL 6540446, at *1-*3 (D. Mass. Nov. 3, 2016) (Mastroianni, J.); Nat’l Ass’n of the

 Deaf v. Massachusetts Inst. of Tech., Case 3:15- cv-30024-MGM, 2016 WL 3561631,

 at *1 (D. Mass. Feb. 9, 2016) (Robertson, Mag. J.)(recommending the denial of a

 motion to dismiss or stay predicated on the primary jurisdiction doctrine), adopted in

 Nat’l Ass’n of the Deaf v. Massachusetts Inst. of Tech., Case 3:15-cv-30024-MGM,

 2016 WL 6652471, at *1 (D. Mass. Nov. 4, 2016) (Mastroianni, J.); Edward Davis v.

 Orlando Wilshire Investments Ltd., et al., No. 5:15-cv-01738-MWF-KK, slip op. at 10

 [ECF #17] (C.D. Cal. Nov. 2, 2015) (Fitzgerald, J.) (denying motion to dismiss in a

 website accessibility case) (“the Court concludes that the Complaint sufficiently

 alleges that the inaccessibility of the Website impedes the full and equal enjoyment of

 the Hotel.”); Nat’l Fed’n of the Blind v. Scribd, Inc., 98 F. Supp.3d 565, 576 (D. Vt.

 2015) (denying a motion to dismiss an ADA claim against a commercial website

 operator); James Patrick Brown v. BPS Direct, LLC, et al., Case No. LACV 14-04622

 JAK (JEMx) slip op. at 4-7 [ECF #30] (C.D. Cal. Oct. 6, 2014) (Krondstadt, J.)

 (denying the defendant’s motion to dismiss while relying on the Target decision as

 “persuasive”, and holding “the Complaint does allege that Bass Pro Shops is a chain of

 brick-and-mortar stores and that BassPro.com is a website providing information

 about Bass Pro Shops products, offers, and locations…. [and that] a nexus could be

 established here through discovery.”); Penney v. Kohl’s Dep’t Stores, Inc., et al., No.

 8:14-cv-01100-CJC-DFM [ECF #12] slip op. at 3 (C.D. Cal. Sept. 23, 2014) (Carney,

 J.) (denying a motion to dismiss and stating, “Thus, the Complaint states plausible
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 facts that establish the requisite nexus between the challenged service and the place

 of public accommodation.”); National Ass’n of the Deaf v. Netflix, Inc., 869 F. Supp.

 2d 196, 200 (D. Mass. 2012) (excluding web-based services would “run afoul of the

 purposes of the ADA and would severely frustrate Congress’s intent that individuals

 with disabilities fully enjoy the goods, services, privileges, and advantages available

 indiscriminately to other members of the general public”); id. at 200-01 (“[T]he

 legislative history of the ADA makes clear that Congress intended the ADA to adapt to

 changes in technology.”) (quoting H.R. Rep. 101-485(II), at 108 (1990)) (“[T]he

 Committee intends that the types of accommodation and services provided to

 individuals with disabilities, under all of the titles of this bill, should keep pace with the

 rapidly changing technology of the times.”); Shields v. Walt Disney Parks and Resorts

 US, Inc., 279 F.R.D. 529, 559 (C.D. Cal. 2011) (rejecting as “unpersuasive” Disney’s

 argument that “there is no accepted accessibility standard” and the argument that the

 DOJ has yet to determine what standards to apply to websites and stating, “The lack

 of a widely accepted standard for website accessibility does not preclude injunctive

 relief that would improve access to Defendants’ websites by the visually impaired.”);

 Nat’l Federation of the Blind v. Target Corp., 452 F. Supp. 2d 946, 953 (N.D. Cal.

 2006) (“To limit the ADA to discrimination in the provision of services occurring on

 the premises of a public accommodation would contradict the plain language of the

 statute.”); id. at 953-54 (“consistent with the plain language of the statute, no court

 has held that under the nexus theory a plaintiff has a cognizable claim only if the

 challenged service prevents physical access to a public accommodation. Further, it is
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 clear that the purpose of the statute is broader than mere physical access—seeking to

 bar actions or omissions which impair a disabled person’s “full enjoyment” of services

 or goods of a covered accommodation. 42 U.S.C. § 12182(a). Indeed, the statute

 expressly states that the denial of equal “participation” or the provision of “separate

 benefit[s]” are actionable under Title III. See 42 U.S.C. § 12182(b)(1)(A).”); cf. Hindel

 v. Husted, No. 2017 WL 432839, at *7 (S.D. Ohio Feb. 1, 2017) (granting a motion for

 preliminary injunction against the Ohio Secretary of State based on the accessibility

 of the state’s website under Title II of the ADA and requiring conformance with

 WCAG 2.0 Level A and AA Success Criteria).

       The Inaccessibility of PVNB’s Website to the Visually-Impaired

    10. PVNB offers the commercial website, powellvalleybank.com, which provides,

 among other things, information concerning the PVNB locations it operates,

 information and descriptions of its amenities and services, privileges, advantages,

 and accommodations, and allows users to find the locations for them to visit.

    11. Based on information and belief, it is PVNB’s policy and practice to deny blind

 users, including Plaintiff, equal enjoyment of and access to powellvalleybank.com.

 Due    to   PVNB’s     failure   and   refusal   to   remove     access    barriers   on

 powellvalleybank.com, Plaintiff and other blind and visually impaired individuals

 have been denied equal enjoyment of and access to the PVNB locations and to the

 other services, advantages, privileges, and accommodations offered to the public

 through powellvalleybank.com.

    12. PVNB denies blind individuals equal enjoyment of and access to the services,
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 privileges, advantages, and accommodations and information made available through

 powellvalleybank.com      by     preventing     them     from       freely   navigating

 powellvalleybank.com. Powellvalleybank.com contains access barriers that prevented

 free and full use by blind persons using screen reading software.

    13. Powellvalleybank.com’s barriers are pervasive and include, but are not limited

 to, the following: (1) Linked image missing alternative text and missing alternative

 text which present a problem because an image without alternative text results in an

 empty link. Alternative Text is invisible code embedded beneath a graphical image

 on a website. Web accessibility requires that Alternative Text be coded with each

 picture so that a screen reader can speak the Alternative Text where a sighted user

 sees pictures. Alternative Text does not change the visual presentation, but instead a

 text box will pop-up when the mouse moves over the picture. The lack of Alternative

 Text on these graphics prevents screen readers from accurately vocalizing a

 description of the graphics. As a result, visually-impaired PVNB customers are

 unable to determine what is on the website, browse the site, look for the PVNB

 locations, check out Defendant’s amenities, and/or determine which location to visit;

 (2) Empty links that contain no text causing the function or purpose of the link to not

 be presented to the user. This can introduce confusion for keyboard and screen

 reader users; (3) Redundant Links where adjacent links go to the same URL address

 which results in additional navigation and repetition for keyboard and screen reader

 users; and (4) Empty or missing form labels which presented a problem because if a

 form control does not have a properly associated text label, the function or purpose of
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  that form control may not be presented to screen reader users. Form labels provide

  visible descriptions and larger clickable targets for form controls.

     14. Due to the inaccessibility of powellvalleybank.com, blind and otherwise

  visually impaired customers who use screen readers are hindered from effectively

  browsing for PVNB’s locations, amenities and services, privileges, advantages, and

  accommodations that exist online unlike sighted users. If powellvalleybank.com were

  accessible, Plaintiff could independently and privately investigate PVNB’s services,

  privileges, advantages, and accommodations and amenities, and find the locations to

  visit via PVNB’s website as sighted individuals can and do.

     15. Despite several attempts to use powellvalleybank.com in recent months, the

  numerous access barriers contained on PVNB’s website have denied Plaintiff’s full

  and equal access, and deterred Plaintiff on a regular basis from accessing PVNB’s

  website.    Similarly, based on the numerous access barriers contained on

  powellvalleybank.com, Plaintiff has been deterred from visiting PVNB’s physical

  locations that Plaintiff may have located by using powellvalleybank.com.

   COUNT I: Violations of the Americans with Disabilities Act, 42 U.S.C. §

                                       12181 et seq.

     16. Plaintiff incorporates by this reference the allegations contained in the

  preceding paragraphs as if fully set forth herein.

     17. Section 302(a) of Title III of the ADA, 42 U.S.C. § 12181 et seq., provides: “No

  individual shall be discriminated against on the basis of disability in the full and

  equal enjoyment of the goods, services, facilities, privileges, advantages, or
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  accommodations of any place of public accommodation by any person who owns,

  leases (or leases to), or operates a place of public accommodation.” 42 U.S.C. §

  12182(a).

        18. Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also

  includes, among other things: “a failure to make reasonable modifications in policies,

  practices, or procedures, when such modifications are necessary to afford such goods,

  services, facilities, privileges, advantages, or accommodations to individuals with

  disabilities, unless the entity can demonstrate that making such modifications would

  fundamentally alter the nature of such goods, services, facilities, privileges,

  advantages or accommodations”; and “a failure to take such steps as may be

  necessary to ensure that no individual with a disability is excluded, denied services,

  segregated or otherwise treated differently than other individuals because of the

  absence of auxiliary aids and services, unless the entity can demonstrate that taking

  such steps would fundamentally alter the nature of the good, service, facility,

  privilege, advantage, or accommodation being offered or would result in an undue

  burden”. 42 U.S.C. § 12182(b)(2)(A)(ii)-(iii). “A public accommodation shall take

  those steps that may be necessary to ensure that no individual with a disability is

  excluded, denied services, segregated or otherwise treated differently than other

  individuals because of the absence of auxiliary aids and services, unless the public

  accommodation can demonstrate that taking those steps would fundamentally alter

  the     nature   of   the   goods,   services,    facilities,   privileges,   advantages,   or

  accommodations being offered or would result in an undue burden, i.e., significant
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  difficulty or expense.” 28 C.F.R. § 36.303(a). In order to be effective, auxiliary aids

  and services must be provided in accessible formats, in a timely manner, and in such

  a way as to protect the privacy and independence of the individual with a disability.”

  28 C.F.R. § 36.303(c)(1)(ii).

     19. PVNB’s locations are “public accommodations” within the meaning of 42

  U.S.C. § 12181 et seq. PVNB generates millions of dollars in revenue from the sale of

  its amenities and services, privileges, advantages, and accommodations in Virginia

  through    its   locations   and   related    services,   privileges,   advantages,   and

  accommodations and powellvalleybank.com.           Powellvalleybank.com is a service,

  privilege, advantage, and accommodation provided by PVNB that is inaccessible to

  patrons who are visually-impaired like Plaintiff. This inaccessibility denies visually-

  impaired patrons full and equal enjoyment of and access to the facilities and services,

  privileges, advantages, and accommodations that PVNB made available to the non-

  disabled public. PVNB is violating the Americans with Disabilities Act, 42 U.S.C. §

  12181 et seq., in that PVNB denies visually-impaired customers the services,

  privileges, advantages, and accommodations provided by powellvalleybank.com.

  These violations are ongoing.

     20. PVNB’s actions constitute intentional discrimination against Plaintiff on the

  basis of a disability in violation of the Americans with Disabilities Act, 42 U.S.C. §

  12181 et seq. in that: PVNB has constructed a website that is inaccessible to Plaintiff;

  maintains the website in this inaccessible form; and has failed to take adequate

  actions to correct these barriers even after being notified of the discrimination that
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  such barriers cause.

     21. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights set

  forth and incorporated therein, Plaintiff requests relief as set forth below.


     WHEREFORE, Plaintiff prays for judgment against Defendant Powell Valley

  National Bank for preliminary and permanent injunctive relief pursuant to 42 U.S.C.

  § 12188(a)(1) and (2), further equitable relief, and for costs and attorneys’ fees, and

  for such other and further relief as may be just and equitable.

  TRIAL BY JURY IS DEMANDED

                                     Respectfully submitted,



                                     /s/ Thomas E. Strelka
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